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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   : MAGISTRATE NO. 21-MJ-539 (RMM)
                                            :
THOMAS JOHN BALLARD,
                                            :
       Defendant.                           :


                                   TRANSPORT ORDER

       Having granted the United States’ Motion for Review and Appeal of Release Order, ECF

No. 6, and, upon review, reversed the Magistrate Judge’s Pretrial Release Order, and having

ordered the defendant Thomas John Ballard transported from the Northern District of Texas to

the District of Columbia for further proceedings on the Complaint filed against him, it is hereby

ORDERED

       That the United States Marshals Service transport the defendant forthwith from the

Northern District of Texas to the District of Columbia for further proceedings in this matter.




       DATE: August 18, 2021
                                            BERYL A. HOWELL
                                            Chief Judge




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